 8:04-cr-00425-JFB-TDT        Doc # 56     Filed: 04/22/05     Page 1 of 2 - Page ID # 134




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )             8:04CR425
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
JOSE L. MADRIGAL,                                  )
                                                   )
                     Defendant.                    )


       This matter is before the court on the motion of Mark W. Bubak to withdraw as
counsel for defendant Jose L. Madrigal (Madrigal) (Filing No. 53). The court held a hearing
on the motion on April 22, 2005. Madrigal was present with Mr. Bubak and the government
was represented by Assistant U.S. Attorney Kimberly C. Bunjer. Jose Pina, a certified
interpreter in the Spanish language, served as the interpreter by remote telephone hook-
up. During an in camera discussion with Madrigal and Mr. Bubak, it was determined that
Madrigal was satisfied with Mr. Bubak’s counsel on the instant criminal case but wanted
Mr. Bubak to represent him on immigration related matters. When the court informed
Madrigal that Mr. Bubak was not appointed to represent him other than for these
proceedings, Madrigal expressed satisfaction with Mr. Bubak’s counsel.
       Following the in camera proceeding, Mr. Bubak stated on the record that Madrigal
did not wish to enter a plea of guilty as previously arranged. See Filing No. 52. Mr. Bubak
requested additional time to prepare for trial. Madrigal concurred in the motion and stated
he understood the additional time would be excluded under the Speedy Trial Act.


       IT IS ORDERED:
       1.     Mr. Bubak’s motion to withdraw (Filing No. 53) is denied.
       2.     The change of plea hearing scheduled for April 27, 2005, is canceled.
       3.     The oral motion for additional time to prepare for trial is granted. Trial of this
matter is scheduled to commence before Chief Judge Joseph F. Bataillon and a jury on
May 31, 2005. The ends of justice have been served by granting such motion and
 8:04-cr-00425-JFB-TDT        Doc # 56     Filed: 04/22/05    Page 2 of 2 - Page ID # 135




outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between April 22, 2005,
and May 31, 2005, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason that defendant's counsel requires
additional time to adequately prepare the case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 22nd day of April, 2005.


                                                  BY THE COURT:
                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge




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